Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 1 of
                                     25




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:16-cv-02981-MSK-KMT
   TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf of all
   others similarly situated,
                            Plaintiff
   v.

   EURTON ELECTRIC COMPANY, INC., a California corporation
                            Defendant

            DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF MOTION
                            TO DECERTIFY CLASS


   TO THE HONORABLE MARCIA S. KRIEGER, UNITED STATES DISTRICT JUDGE:
          Defendant Eurton Electric Company, Inc. hereby files this Memorandum of Law in
   Support of its Motion to Decertify Class.




                                               1
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 2 of
                                     25




                                                  TABLE OF CONTENTS
   I.      INTRODUCTION ...............................................................................................................1
   II.     BACKGROUND .................................................................................................................1
           A.        Eurton’s Three-Step Process ....................................................................................2
           B.        Credit application forms document consent ............................................................2
           C.        Customer Contact Information Update Forms document consent ...........................3
           D.        Data Quote forms document consent .......................................................................3
           E.        Post-lawsuit verification process .............................................................................3
   IV.     PLAINTIFF’S CERTIFIED CLASS ...................................................................................4
   V.      NOTICE IS SENT TO THE CLASS ...................................................................................4
   VI.     ONCE CLASS MEMBERS WERE IDENTIFIED, EURTON DEVELOPED EVIDENCE
           OF CONSENT …………………………………………………………………………….5
   VII.    ARGUMENT ......................................................................................................................6
           A.        The Court’s Basis for Holding Plaintiff’s Class Established Predominance is
                     Eviscerated by Facts Developed Post-Certification .................................................6
           1.        Defendant has assembled substantial evidence of consent ......................................9
           2.        Eurton developed evidence of consent to fax the Initial List and the Supplemental
                     List ……………………………………………………………………………….12
           3.        Eurton’s post-lawsuit evidence of consent .............................................................14
           4.        Plaintiff’s Class lacks predominance due to individualized issues as to whether
                     received a Fax from Eurton ……………………………………………………...14
           B.        Commonality..........................................................................................................15
           C.        Plaintiff’s Class Lacks Superiority Due to the Mini Trials Presented ...................15
           D.        Plaintiff’s Class lacks ascertainability ..................................................................16
           E.        Numerosity ............................................................................................................17
           F.        Faxes to Efaxes should be excluded ……………………………………………..17
   VIII.   CONCLUSION ..................................................................................................................18




                                                                      i
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 3 of
                                     25




                                                   TABLE OF AUTHORITIES


   Cases

   Advanced Rehab & Med., P.C. v. Amedisys Holding, LLC,
   2020 WL 4937790 (W.D. Tenn. Aug. 24, 2020) .......................................................................... 17

   Amchem Prods. Inc. v. Windsor,
   521 U.S. 591 (1997) ........................................................................................................................ 7

   Arkalon Grazing Ass'n v. Chesapeake Operating, Inc.,
   2014 WL 3089556 (D. Kan. July 7, 2014) ..................................................................................... 6

   A-W Land Co., LLC v. Anadarko E&P Co. LP,
   2012 WL 4463869 (D. Colo. Sept. 27, 2012) ............................................................................... 15

   Bais Yaakov of Spring Valley v. FCC,
   852 F.3d 1078 (D.C. Cir. 2017) ...................................................................................................... 8

   Barrett v. Wesley Fin. Grp., LLC,
   2015 WL 12910740 (S.D. Cal. Mar. 30, 2015) ............................................................................ 10

   Carpenter v. Boeing Co.,
   456 F.3d 1183 (10th Cir. 2006) ...................................................................................................... 6

   Carrera v. Bayer Corp.,
   727 F.3d 300 (3rd Cir.2013) ......................................................................................................... 16

   CE Design Ltd. v. King Architectural Metals, Inc.,
   637 F.3d 721 (7th Cir. 2011) .......................................................................................................... 7

   Cox v. Allstate Ins. Co.,
   2012 WL 12860745 & n.14 (W.D. Okla. Mar. 28, 2012) ............................................................ 15

   Daubert v. NRA Grp., LLC,
   861 F.3d 382 (3d Cir. 2017)............................................................................................................ 7

   Donaca v. Dish Network, LLC,
   303 F.R.D. 390 (D. Colo. 2014) ................................................................................................... 13

   Edwards v. Zenimax Media Inc.,
   2012 WL 4378219 (D. Colo. Sept. 25, 2012) ............................................................................... 16
   {00140042;1}
                                                                                   BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                                                               ii
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 4 of
                                     25




   Fober v. Mgmt. & Tech. Consultants, LLC,
   886 F.3d 789 (9th Cir. 2018) .......................................................................................................... 8

   Friedman v. Dollar Thrifty Auto. Grp., Inc.,
   304 F.R.D. 601 (D. Colo. 2015) ................................................................................................... 16

   Gannon v. Network Tel. Services, Inc.,
   2013 WL 2450199 (C.D.Cal. June 5, 2013) ................................................................................. 16

   Gene And Gene LLC v. BioPay LLC,
   541 F.3d 318 (5th Cir. 2008) .......................................................................................................... 8

   General Tel. Co. of Sw. v. Falcon,
   457 U.S. 147 (1982) ........................................................................................................................ 6

   Gorss Motels Inc. v. A.V.M. Enterprises, Inc.,
   2019 WL 4278951 (D. Conn. Sept. 10, 2019) .............................................................................. 11

   Gorss Motels, Inc. v. AT&T Mobility LLC,
   2019 WL 625699 (D. Conn. Feb. 14, 2019) ................................................................................. 11

   Gorss Motels, Inc. v. Brigadoon Fitness Inc.,
   331 F.R.D. 355 (N.D. Ind. 2019) .................................................................................................. 15

   Gorss Motels, Inc. v. Brigadoon Fitness Inc.,
   2019 WL 5692168 (N.D. Ind. Nov. 4, 2019) .......................................................................... 11, 12

   Hinman v. M & M Rental Ctr. Inc.,
   545 F. Supp. 2d 802 (N.D. Ill. 2008) .............................................................................................. 9

   Jeffries v. Pension Trust Fund,
   172 F.Supp.2d 389 (S.D.N.Y. 2001)............................................................................................. 17

   Johnson v. Yahoo,
   2018 WL 835339 (N.D. Ill. Feb. 13, 2018) .................................................................................. 12

   Karhu v. Vital Pharm., Inc.,
   621 F. App'x 945 (11th Cir. 2015) ................................................................................................ 14

   Keim v. ADF MidAtlantic, LLC,
   328 F.R.D. 668 (S.D. Fla. 2018) ................................................................................................... 10

   KHS Corp. v. Singer Fin. Corp.,
   {00140042;1}
                                                                                   BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                                                              iii
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 5 of
                                     25




   2018 WL 4030699 (E.D. Pa. Aug. 23, 2018) ................................................................................. 8

   Kostmayer Constr., LLC v. Port Pipe & Tube, Inc.,
   2019 WL 1523045 (W.D. La. Apr. 8, 2019)............................................................................. 9, 11

   Licari Family Chiropractic Inc. v. eClinical Works, LLC,
   2019 WL 7423551 (M.D. Fla. Sept. 16, 2019) ............................................................................. 11

   Manno v. Healthcare Revenue Recovery Grp., LLC,
   289 F.R.D. 674 (S.D. Fla. 2013) ................................................................................................... 10

   Menocal v. GEO Grp., Inc.,
   882 F.3d 905(10th Cir. 2018) ..................................................................................................... 6, 9

   Messner v. Northshore Univ. HealthSystem,
   669 F.3d 802 (7th Cir. 2012) ........................................................................................................ 16

   Physicians Healthsource, Inc. v. Cephalon, Inc.,
   954 F.3d 615 (3d Cir. 2020)............................................................................................................ 7

   Ponca Tribe of Indians of Okla. v. Cont'l Carbon Co.,
   2008 WL 11338389 (W.D. Okla. 2008) ......................................................................................... 6

   Porcell v. Lincoln Wood Prod., Inc.,
   713 F. Supp. 2d 1305 (D.N.M. 2010) ........................................................................................... 15

   Pueblo of Zuni v. United States,
   243 F.R.D. 436 (D.N.M. 2007) ..................................................................................................... 15

   Sandusky Wellness Ctr., LLC v. ASD Specialty Healthcare, Inc.,
   863 F.3d 460 (6th Cir. 2017) ................................................................................................. passim

   Sawyer v. KRS Biotechnology, Inc.,
   2018 WL 2425780 (S.D. Ohio May 30, 2018) ............................................................................... 9

   Sibley v. Sprint Nextel Corp.,
   315 F.R.D. 642 (D. Kan. 2016)....................................................................................................... 6

   Tomeo v. CitiGroup, Inc., No. 13 C 4046,
   2018 WL 4627386 (N.D. Ill. Sept. 27, 2018) ............................................................................... 12

   Torres v. S.G.E. Mgmt., L.L.C.,
   838 F.3d 629 (5th Cir. 2016) .......................................................................................................... 9

   Wallace B. Roderick Revocable Living Trust v. XTO Energy, Inc.,
   {00140042;1}
                                                                                BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                                                         iv
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 6 of
                                     25




   725 F.3d 1213 (10th Cir. 2013) ...................................................................................................... 6

   Wal–Mart Stores, Inc. v. Dukes,
   131 S.Ct. 2541 (2011) ................................................................................................................... 15

   Warnick v. Dish Network LLC,
   301 F.R.D. 551 (D. Colo. 2014) ................................................................................................... 16

   Wilson v. Badcock Home Furniture,
   329 F.R.D. 454 (M.D. Fla. 2018).................................................................................................. 14

   Statutes

   42 U.S.C. § 227(a)(5) ...................................................................................................................... 7
   47 U.S.C. § 227 ............................................................................................................................... 1
   47 U.S.C.A. § 227(b)(2)(D)(i)-(iii) ................................................................................................. 8

   Rules

   Fed. R. Civ. P. 23(b)(3)............................................................................................................. 7, 15
   Federal Rule of Civil Procedure 23(c)(1)(C) .................................................................................. 6
   Rule 23 ...................................................................................................................................... 6, 16

   Other
   In re Amerifactors Fin. Group, LLC Pet. for Expedited Declaratory Ruling,
   34 F.C.C. Rcd. (CGAB 2019) ....................................................................................................... 17
   In re Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 F.C.C.R. 1,
   4014, 14129 (F.C.C. 2003), 2003 WL 21517853 ........................................................................... 7
   In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991 Junk
   Fax Prevention Act of 2005,
   21 F.C.C. Rcd. 3787 (2006) ............................................................................................................ 8




   {00140042;1}
                                                                                       BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                                                                     v
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 7 of
                                     25




                      MEMORANDUM OF POINTS AND AUTHORITIES
   I.     INTRODUCTION
          On May 29, 2018, the Court certified Plaintiff’s class (Dkt. No. 47) with respect to their
   claims under the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) against
   Defendant Eurton Electric Company, Inc. (“Eurton”) The linchpin of the Court’s Order certifying
   the class was that “Eurton has no records of who it contacted and who consented.” (May 29, 2018
   Order at 2.)
          However, Eurton has now developed its factual record of documents showing consent to
   fax Plaintiff’s Class.    This evidence confirms that Plaintiff’s class lacks commonality,
   predominance, ascertainability, numerosity and superiority.
          Eurton is a small business that has been operating for over 30 years (Buchanan Decl. ¶ 5)
   and has faxed its customers with consent.




   (Ex. 12 to Buchanan Decl.)
          Plaintiff’s Class should be decertified.


   II.    BACKGROUND
          Eurton supplies and repairs electric motors. (Declaration of John Buchanan, ¶ 4.) It is a
   small business with 30 employees. (Buchanan Decl. ¶ 4.) Eurton engaged a company called
   WestFax to mount an advertising campaign via fax to a list of recipients that Eurton supplied.
   (Buchanan Decl. ¶ 8.) This list included Plaintiff Tech Instrumentation Inc. (TII) and over 1,000
   other people/businesses. (Buchanan Decl. ¶ 9.) Eurton developed the list by locating potential



                                                     1
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 8 of
                                     25




   customers online and cold calling them to ask whether they would be interested in receiving more
   information.          (Buchanan Decl. ¶¶ 12-16.) Eurton does not have records of who it faxed.
   (Buchanan Decl. ¶ 10-11.)            A subpoena to WestFax only produced invoices. (Declaration of
   Stephen A. Watkins, ¶ 2 & Ex. 14.)
                  A.     Eurton’s Three-Step Process
                  Eurton’s three step process for obtaining fax consent is described as follows:
                  First Step: Eurton’s practice was to first locate businesses online that might use motors in
   their operations. (Buchanan Decl. ¶ 13.)
                  Second Step: Cold-call those businesses and ask whether the business would be interested
   in receiving more information. (Buchanan Decl. ¶ 14.)
                  Third Step: The company policy was to then ask the businesses if they agreed to receive
   more information, including by fax. (Buchanan Decl. ¶ 15.) This was an admittedly imperfect
   system, so it was also a matter of company policy that Eurton would remove anyone when
   “mistakes” occurred. (Buchanan Decl. ¶ 17.) This was few and far in between. (Buchanan Decl.
   ¶ 17.)
                  In this regard, consent to fax would be obtained orally. (Buchanan Decl. ¶¶ 13-15.)
   Moreover, during this process, consent to fax was also obtained via completion of initial credit
   application, and periodic customer updates, as shown below.
                  B.     Credit application form documents consent
                  As part of its customer process, Eurton would have potential customers complete a credit
   application and provide their fax number. (Buchanan Decl. ¶ 34-36 & Exhs. 4-5.)                      These
   applications set forth the following permission language with respect to faxes:




   (Ex. 4 to Buchanan Decl. at pg. EE1289)

   {00140042;1}
                                                                  BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                             2
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 9 of
                                     25




                  C.     Customer Contact Information Update Forms document consent
                  It was Eurton’s regular business practice to have its customers complete Customer Contact
   Update Forms. (Buchanan Decl. ¶¶ 43-47 & Exhs. 6-7.)               These forms set forth the following
   permission language with respect to faxes:
          “The above information is current is best way of contacting us through normal
          business communications including: invoices, sales orders, pricing, sales
          promotions, references, phone, facsimile, e-mails, specials and catalog and
          brochure mailers, etc.
   (Ex. 7 to Buchanan Decl. at EE1287).
                  D.     Data Quote form documents consent
                  Every day, potential customers and long-established customers request and fax to Eurton
   quotation data sheet flyers and other information. (Buchanan Decl. ¶¶ 66-67 & Ex. 8)




                  E.     Post-lawsuit verification process
                  Plaintiff’s Complaint was filed on December 6, 2016. Post-lawsuit, without consulting
   counsel, and because the initial list in question was just a list of numbers, Eurton confirmed
   consent for potential class members by orally obtaining consent to fax and sending a confirmation
   fax. (Buchanan Decl. ¶ 70.)
                  Eurton would call customers to orally confirm/verify the fax numbers. (Buchanan Decl.
   ¶¶ 71-72.) During this verification process, Eurton would then send these persons who had given
   their previous permission to fax them a flyer to confirm their prior consent and numbers to receive
   faxes. (Buchanan Decl. ¶ 72.) These fax flyers, have the contacts, verified numbers and have
   "Permission to Fax was given by contact at the top of the flyer". (Buchanan Decl. ¶ 73 & Ex. 9.)


   {00140042;1}
                                                                 BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                            3
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 10
                                    of 25




  IV.             PLAINTIFF’S CERTIFIED CLASS
                 The Court’s May 29, 2018 Order certified the following class:

                 Any person/entity who:

                 1) Received a cold call from Eurton pursuant to its
                    three-step procedure; and
                 2) Is listed on a list prepared by Eurton and supplied to WestFax; and
                 3) Received one or more faxes sent by Eurton or WestFax between
                    December 16, 2013 through the date notice is sent to the Class.

  (Dkt. 47 at 6)
  V.             NOTICE IS SENT TO THE CLASS
                 Prior the sending of notice to the class, Plaintiff and Eurton disputed the data that should
  be used to populate the class list. Eurton requested that the recipients of the class notice should
  be based upon the fax list and fax logs, instead of Plaintiff's customer list of 7,500 persons.
                 In ruling on the dispute, the Court held as follows:

                         “[E]urton has produced three collections of information that ‘can be used to
                 locate class members’:

                         (i)    its ‘accounting database system,’ that lists all persons and entities
                 (including fax numbers) that have done business with Eurton;

                        (ii)    the ‘potential customer/actual customer spreadsheet’ that “captures
                 both potential customers as well as actual customers” (including actual customers
                 who might not have been entered into the accounting database); and

                         (iii)   Eurton’s ‘fax list,’ which Tech concedes “represents a significant
                 portion of the class in this case,” but which may be either over-inclusive (because
                 it includes persons who may have expressly authorized Eurton to send fax
                 advertisements) or under-inclusive (because it omits persons who received
                 unsolicited faxes and who contacted Eurton asking to be removed.)
                 The Court therefore directed that class notice be sent to the following persons or entities:
                 (i)    those listed on Eurton’s 2017 fax logs;
                 (ii)   those listed on any existing iteration of Eurton’s “fax list”; and



  {00140042;1}
                                                                  BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                                4
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 11
                                    of 25




                 (iii)   those who do not meet either of the first two criteria, but who are noted as having
                         a fax number in either Eurton’s accounting database or on its potential
                         customer/actual customer spreadsheet.
  (ECF)
                 For the purposes of class notice, Eurton produced data relating to (ii) those listed on any
  existing iteration of Eurton’s “fax list” and (iii) those who do not meet either of the first two
  criteria, but who are noted as having a fax number in either Eurton’s accounting database or on
  its potential customer/actual customer spreadsheet. (Buchanan Decl. ¶¶ 21-23.) Eurton did not
  have any 2017 fax logs other than fax attempts to verify the persons under (ii) and (iii) post-
  lawsuit. (Buchanan Decl. ¶ 23.)
                 On January 30, 2020, notice was sent to the first set of class members set forth in EE001-
  33 (See Dkt. 86 at 3.) Notice was sent to the second class list on June 12, 2020. (Watkins Decl.¶
  25.)
  VI.            ONCE CLASS MEMBERS WERE IDENTIFIED, EURTON DEVELOPED
                 EVIDENCE OF CONSENT
                 Once the Court’s Order certifying class and identifying the means to give notice was
  finalized, Eurton applied its limited resources to developing evidence of consent for these class
  members. (Buchanan Decl. ¶ 34.) The following chart sets forth the documents that are the basis
  for Eurton’s evidence of consent to fax Plaintiff’s Class.
   EE001-33 (first part of class list)                  EE002363 (second part of class list)
   EE1411-1501 (Credit App list recipients              EE1502 -2022 (A, B and C evidence of
   plus updates and permissions)                        consent to fax)
   EE2023-2361 (List Recipients with
   update    forms     and    corresponding             EE2365-3060 – Fax flyers from customers
   statements)                                          and potential customers

   EE2365-3060 – Fax flyers from                        EE0039-1285 (Verified Contacts with
   customers and potential customers faxed              Permission to Fax Approvals)
   to Eutron Electric

   EE0039-1285 (Verified Contacts with
   Permission to Fax Approvals)
  {00140042;1}
                                                                 BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                            5
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 12
                                    of 25




  VII.           ARGUMENT
                 Federal Rule of Civil Procedure 23(c)(1)(C) specifically contemplates that “[a]n order that
  grants or denies class certification may be altered or amended before final judgment.” Id.; see,
  e.g., General Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982) (noting that “[e]ven after a
  certification order is entered, the judge remains free to modify it in the light of subsequent
  developments in the litigation”); Menocal v. GEO Grp., Inc., 882 F.3d 905, 921(10th Cir. 2018)
  (acknowledging that defendant had the right to file a motion to decertify).
                 A court may modify a certification order due to, among other things, matters such as lack
  of numerosity, lack of commonality, or the inadequacy of the named plaintiff as class
  representative. Ponca Tribe of Indians of Okla. v. Cont'l Carbon Co., 2008 WL 11338389, *2
  (W.D. Okla. 2008) (citation omitted). The Tenth Circuit has recognized “that Rule 23(c)(1)(C)
  permits the district court to alter or amend a certification decision ... parties may suggest such
  changes as the factual record and legal theories develop.” Carpenter v. Boeing Co., 456 F.3d 1183,
  1191 (10th Cir. 2006).
                 When faced with a motion to decertify—that is, even after the Court has granted a motion
  for class certification—the party seeking certification continues to bear the burden of meeting the
  requirements of Rule 23. Sibley v. Sprint Nextel Corp., 315 F.R.D. 642, 651 (D. Kan. 2016) (citing
  Arkalon Grazing Ass'n v. Chesapeake Operating, Inc., 2014 WL 3089556 at *1 (D. Kan. July 7,
  2014) (“it remains the plaintiff's burden to prove that the requirements of Rule 23 are met”) (citing
  Wallace B. Roderick Revocable Living Trust v. XTO Energy, Inc., 725 F.3d 1213 (10th Cir. 2013).
                 As shown below, Plaintiff cannot meet its continued burden to show by a preponderance
  of the evidence that its class satisfies Rule 23.              Plaintiff’s class list lacks commonality,
  predominance, numerosity, ascertainability and superiority, as shown below.
                 A.     The Court’s Basis for Holding Plaintiff’s Class Established Predominance is
                        Eviscerated by Evidence of Consent Developed Post-Certification
                 Eurton has assembled substantial evidence of consent such that Plaintiff’s class lacks
  predominance. Predominance “trains on the legal or factual questions that qualify each class

  {00140042;1}
                                                                 BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                            6
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 13
                                    of 25




  member's case as a genuine controversy” and tests whether a proposed class is sufficiently cohesive
  to warrant adjudication by representation. Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 624
  (1997).          Predominance requires that “questions of law or fact common to class members
  predominate over any questions affecting only individual members.” Fed. R. Civ. P. 23(b)(3). This
  inquiry is “far more demanding” than that for commonality. Id. at 623–24, 117 S.Ct. 2231.
                 Plaintiff’s Complaint and its motion for class certification asserted two different basis for
  liability:
                 (1)    That the faxes sent by Eurton lacked “prior express invitation or permission.”
                 (2)    That the faxes sent by Eurton did not have a sufficient “opt out” notice.
                 First, with respect to sending faxes without “prior express invitation or permission,”
  the TCPA only prohibits faxed advertisements that are “unsolicited.” Physicians Healthsource, Inc.
  v. Cephalon, Inc., 954 F.3d 615, 618–19 (3d Cir. 2020). An “unsolicited advertisement,” is that
  which is sent “to any person without that person’s prior express invitation or permission, in writing
  or otherwise.” Id. § 227(a)(5). Thus, fax advertisements sent with the recipient’s prior express
  invitation or permission (i.e., solicited faxes) are not violative of the TCPA. Id.
                 Whether a fax recipient expressly consented to receive fax advertisements must be assessed
  “on a case-by-case basis” and express permission requires “that the consumer understand that by
  providing a fax number, he or she is agreeing to receive faxed advertisements.” CE Design Ltd. v.
  King Architectural Metals, Inc., 637 F.3d 721, 726 (7th Cir. 2011) (internal quotation marks and
  emphasis omitted) (quoting In re Rules and Regulations Implementing the Tel. Consumer Prot. Act
  of 1991, 18 F.C.C.R. 14014, 14129 (F.C.C. 2003), 2003 WL 21517853). The statute does not
  require a specific form of invitation or permission. CE Design, 637 F.3d at 726; 42 U.S.C. §
  227(a)(5) (stating that it can be “in writing or otherwise”).
                 The voluntary provision of a number—phone or fax—by a message-recipient to a message-
  sender, constitutes express consent such that a received message is solicited and thus not prohibited
  by the TCPA, if the message relates to the reason the number was provided.                        Physicians
  Healthsource, 54 F.3d at 618 (citing Daubert v. NRA Grp., LLC, 861 F.3d 382, 389 (3d Cir. 2017);

  {00140042;1}
                                                                  BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                             7
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 14
                                    of 25




  Fober v. Mgmt. & Tech. Consultants, LLC, 886 F.3d 789, 793 (9th Cir. 2018) (concluding that the
  provision of a phone number and receipt of a call that relates to “the reason why the called party
  provided his or her phone number in the first place” constitutes express consent such that the calls
  were deemed solicited); KHS Corp. v. Singer Fin. Corp., No. 16-55, 2018 WL 4030699, at *4
  (E.D. Pa. Aug. 23, 2018) (concluding the same, but in the context of fax advertisements, and
  collecting cases).
                 Second, with respect to Plaintiff’s class allegations that Eurton’s notices did not satisfy the
  TCPA’s opt-out notice rules1, that does not apply to solicited faxes. Bais Yaakov of Spring Valley
  v. FCC, 852 F.3d 1078 (D.C. Cir. 2017). In other words, prior express permission or invitation is
  a complete defense to an opt-out notice claim.
                 Gene And Gene LLC v. BioPay LLC, 541 F.3d 318, 328-29 (5th Cir. 2008) is directly on
  point. That Court denied class certification of a TCPA fax case due to lack of predominance. In
  that case where was no class-wide proof for TCPA claim where the defendant obtained consent in
  different ways (culled fax numbers from purchased databases but also periodically culled fax
  numbers from various other sources—from information submitted by merchants through BioPay's
  website, from information submitted at trade shows BioPay attended, and also from lists of
  companies with which BioPay or its affiliates had an established business relationship).
                 In granting certification, this Court declined to follow the rationale of Gene and Gene
  because at the time Eurton had not produced documentary evidence of consent, only testimony on
  how consent would have been orally provided:

                 The essence of Eurton’s response to the motion is that a class action would
                 require the Court to engage in mini-trials for each class plaintiff to determine
                 whether it consented to receive Eurton’s faxes. Viewed in a vacuum, this
                 argument is appealing. In the normal course of business, a defendant might
                 maintain records of what potential client was contacted and whether that potential
                 client consented to receive further information. If there was information as to which
                 potential clients consented and which did not, there might be a need to determine
                 whether a consent foreclosed the claim of any particular potential client. But that
  1
   47 U.S.C.A. § 227(b)(2)(D)(i)-(iii); In the Matter of Rules & Regulations Implementing the Tel.
  Consumer Prot. Act of 1991 Junk Fax Prevention Act of 2005, 21 F.C.C. Rcd. 3787, 3802–03
  (2006)
  {00140042;1}
                                                                   BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                              8
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 15
                                    of 25




                 is not the situation here. Eurton has no records of who it contacted and who
                 consented. Instead, it seeks to rely on its “normal practice” to obtain consent prior
                 to sending faxes. In doing so, Eurton is relying on a standardized course of conduct,
                 which other courts have found is sufficient to establish commonality and typicality.
                 See, e.g., Hinman v. M & M Rental Ctr. Inc., 545 F. Supp. 2d 802, 806 – 07 (N.D.
                 Ill. 2008) (Plaintiffs could identify these users at a specific point in time.
  (Dkt. 47 at 3) (emphasis added). At the 30(b)(6) deposition of Eurton, Eurton’s representative
  meant to state that Eurton had no records of consent with respect to the lead class representative
  Tech—not that Eurton had no records of consent at all. (Buchanan Decl. ¶ 33.)
                 Notwithstanding the foregoing, courts have found that individual inquiries preclude
  certification where “the defendant’s employees kept no records and could not distinguish which
  recipients gave express consent and which did not, but the record reflected they had collected fax
  numbers over time from a variety of sources.” Sawyer v. KRS Biotechnology, Inc., No. 1:16-CV-
  550, 2018 WL 2425780 at *12 (S.D. Ohio May 30, 2018), report and recommendation adopted
  sub nom. Sawyer v. KRS Glob. Biotechnology, Inc., No. 1:16-CV-550, 2018 WL 4214386 (S.D.
  Ohio Sept. 5, 2018); Kostmayer Constr., LLC v. Port Pipe & Tube, Inc., No. 16-CV-1012, 2019
  WL 1523045, at *3 (W.D. La. Apr. 8, 2019) (denying class certification where the defendant
  received fax numbers from a variety of sources and failed to document in its databases which
  recipients consented to receive fax advertisements).
                 Regardless, Defendant has now compiled substantial records demonstrating consent to call
  specific class members. As the class list was not developed until post-certification, this is the very
  definition of developing a fuller factual record. Plaintiff’s class should be decertified, as shown
  below.
                 1.     Defendant has assembled substantial evidence of consent
                 Eurton is permitted to present newly developed rebuttal evidence on decertification.
  Menocal, 882 F.3d at 921. In Menocal, although the 10th Circuit affirmed class certification, it
  noted that “the district court may revisit its decision and choose to decertify the class should [the
  defendant GEO] eventually produce individualized rebuttal evidence.” Id. (citing Torres v. S.G.E.
  Mgmt., L.L.C., 838 F.3d 629, 645 (5th Cir. 2016)).


  {00140042;1}
                                                                  BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                             9
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 16
                                    of 25




                 This in line with multiple TCPA decisions inviting later decertification if the defendant
  could develop evidence of consent. See Keim v. ADF MidAtlantic, LLC, 328 F.R.D. 668, 686
  (S.D. Fla. 2018) (“The Court does not mean to suggest that Defendants cannot seek to decertify
  the class if Defendants provide more substantial arguments and evidence to show that some
  forwarders did have the requisite authority to act on the class members' behalf in regard to the
  texting program.”); Barrett v. Wesley Fin. Grp., LLC, No. 13CV554-LAB (KSC), 2015 WL
  12910740, at *5 (S.D. Cal. Mar. 30, 2015) (“If it uncovers evidence, the Court can consider
  decertification.”); Manno v. Healthcare Revenue Recovery Grp., LLC, 289 F.R.D. 674, 695 (S.D.
  Fla. 2013) (holding “Should the circumstances change and should the Defendants have more
  substantial arguments or evidence in their favor suggesting that individualized consent…then they
  are welcome to move for decertification at a later time.”)
                 Eurton developed evidence of prior express permission defeats any claim of
  predominance, in line with the Sixth Circuit’s decision in Sandusky Wellness Ctr., LLC v. ASD
  Specialty Healthcare, Inc., 863 F.3d 460, 466 (6th Cir. 2017).
                 In Sandusky, 863 F.3d at 467–70, the Sixth Circuit affirmed a district court's denial of
  class certification in a TCPA “junk fax” case where the lower court found that “questions of
  consent presented an individualized issue” which would “entail[ ] combing through hundreds of
  thousands of customer forms that [the defendant] had produced as evidence of consent, a
  recipient-by-recipient inquiry that was prohibitive of class certification.” Id. at 467.
                 In that case, the defendant gathered consent forms from each customer for facsimile
  broadcasts, amounting to “over 450,000 pages of various forms.” Id. at 468. Thus, “identifying
  these individuals would [have] require[d] manually cross-checking 450,000 potential consent
  forms against the 53,502 potential class members.” Id. at 469 (internal quotation marks omitted).
  The presentation of such cumbersome evidence of actual consent was central to the court's finding
  that the class should not have been certified. Id. at 470 (“Because [the defendant] presented actual
  evidence of consent to the district court, which required the need for individualized inquiries in



  {00140042;1}
                                                                BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                          10
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 17
                                    of 25




  order to distinguish between solicited and unsolicited ... faxes, the district court did not abuse its
  discretion in denying class certification.”).
                 The court further emphasized the lack of generalized proof regarding who received the
  defendant's fax because the fax logs no longer existed. Id. at 472–73. Thus, the district court
  would have been forced to conduct an individualized inquiry of each class member to determine
  who received the fax. Id.
                 Numerous district courts have denied class certification based on sufficient records of
  consent to fax. See Gorss Motels Inc. v. A.V.M. Enterprises, Inc., No. 3:17-CV-01078 (KAD),
  2019 WL 4278951, at *4 (D. Conn. Sept. 10, 2019); Gorss Motels, Inc. v. AT&T Mobility LLC,
  No. 3:17CV403 (JBA), 2019 WL 625699, at *6 (D. Conn. Feb. 14, 2019); Kostmayer Constr.,
  LLC v. Port Pipe & Tube, Inc., No. 16-CV-1012, 2019 WL 1523045, at *3 (W.D. La. Apr. 8,
  2019); Licari Family Chiropractic Inc. v. eClinical Works, LLC, No. 8:16-CV-3461-MSS-JSS,
  2019 WL 7423551, at *11 (M.D. Fla. Sept. 16, 2019).
                 Eurton’s case aligns with the Sandusky decision and these similar cases. Eurton has now
  developed actual evidence of consent, amounting to thousands of pages of forms. Eurton’s
  documents reflecting consent to fax a significant percentage of the class suffices to decertify the
  class. See Gorss Motels, Inc. v. Brigadoon Fitness Inc., No. 1:16-CV-330-HAB, 2019 WL
  5692168, at *5 (N.D. Ind. Nov. 4, 2019). The Court in that case held that the defendant did not
  have specifically identify a member of the proposed class that provided prior express permission
  or produce a log that compiles all prior express permissions. The defendant avoided certification
  simply by showing that fax numbers were obtained from a variety of sources. Id.
                 Key to the decision in Brigadoon was that that the plaintiff had the burden of establishing
  that class certification is appropriate, and therefore the plaintiff had to propose a viable method
  of determining a recipient’s consent that did not require individualized, fact-based mini-trials for
  each potential class member. Id. “Answering the bona fide issue of whether a particular fax was
  solicited—as Plaintiff argues Brigadoon must do at this stage—would require an individualized
  inquiry.”

  {00140042;1}
                                                                 BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                           11
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 18
                                    of 25




                 Eurton does the defendant in Brigadoon one better—it has identified members of the class
  that provided prior express permission, as shown below.
                 2.     Eurton developed evidence of consent to fax the Initial List and the
                        Supplemental List
                 Eurton has developed its evidence of individualized consent determinations for both the
  Initial Class List and the Supplemental Class List and this Court should decertify the class.
                 With respect to Initial Class List, the credit applications, update forms, and data quote
  forms from class members to Eurton clearly demonstrate prior express permission to be faxed.
  With respect to credit applications, those persons provided their fax numbers at the beginning of
  the process to become customers. (Buchanan Decl. ¶ 34B) Those credit applications and
  Customer Contact Information Update forms include specific language putting them on notice of
  promotional faxes. (Exhs. 4-7 to Buchanan Decl.).             These potential and actual customers also
  provided their fax numbers in Data Quote forms sent to Eurton. (Buchanan Decl. ¶¶ 66-68 & Ex.
  8.)
                 With respect to the Supplemental Class List, the credit applications and updates clearly
  demonstrate prior express permission to be faxed. (Buchanan Decl. ¶¶ 62-65 & Exhs. 5, 7, 11)
                 In all of these documents, it is clear that the class member voluntarily provided the fax
  number. Moreover, these forms make it readily apparent that the number is being provided to
  facilitate communication with Eurton, including faxing of promotional flyers.
                 Where a defendant can demonstrate that a significant portion of putative class members
  may have provided consent, certification is inappropriate, because individualized inquiries
  relating to consent predominate. See, e.g., Johnson v. Yahoo, No. 14 CV 2028, 2018 WL 835339,
  at *2 (N.D. Ill. Feb. 13, 2018). In decertifying the class in Johnson, the court noted that
  “Defendant now has evidence sufficient to justify an individual consent inquiry for a significant
  percentage of the class (perhaps between 20 to 25%, maybe more)” Id. at *3. Similarly, in Tomeo
  v. CitiGroup, Inc., No. 13 C 4046, 2018 WL 4627386 (N.D. Ill. Sept. 27, 2018), an error rate of
  15% precluded certification of a TCPA class.

  {00140042;1}
                                                                BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                          12
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 19
                                    of 25




                 With respect to the Initial Class List of 1,428 numbers, Eurton has assembled Credit
  Applications, Customer Information Update Forms and Data Quote forms for approximately 24
  percent of the numbers. (Watkins Decl. ¶¶ 3-16 & Ex. 15.) (Buchanan Decl. ¶¶ 34-68 & Exhs.
  1, 3-4, 7, 8, 10). If the 252 bad numbers are excluded, Eurton’s percentage of consent forms rises
  to 29 percent. (Watkins Decl. ¶ 17 & Ex. 15.)
                 With respect to the Supplemental List, credit applications for 90% of contacts beginning
  with A, B, or C were able to be located. Buchanan Decl. ¶ 62-65 & Exh 2, 5,7, &11). Review of
  credit applications and updates for letters D-Z was prohibitive given Eurton’s lack of manpower
  and COVID-19. (Buchanan Decl. ¶¶ 37-38).
                 This documentation of consent bolsters Eurton’s evidence of its oral three-step process to
  obtain consent. Donaca v. Dish Network, LLC, 303 F.R.D. 390, 400 (D. Colo. 2014) (denying
  certification of TCPA class). In that case, the plaintiff argued the “mere possibility of consent
  should not be sufficient to defeat class certification.” Id. Judge Jackson agreed, but held that oral
  testimony established that every person in the group called by EMI for Paramount Media Group
  did expressly consent to receive the calls. Id.
                 In that case, Paramount Media Group hired a California company called Europe Media
  International or “EMI,” which in turn obtained telephone sales leads from a Florida sales-lead
  generator Robert Tantalo. Id. at 399. Both Paramount Media Group and Tantalo presented
  testimony supporting their assertion that all of the class members consented to calls. Id. at 401.
  Predictably, in his reply, the plaintiff argued that neither the Paramount representative nor Mr.
  Tantalo could produce documentation proving that each of the persons on the Tantalo list executed
  a written consent. Id. at 401. The Court rejected this argument, holding it was the plaintiff’s
  burden to demonstrate absent of consent can be demonstrated on class wide basis. Id.
                 In our case, not only does Eurton have oral testimony of consent to fax the class as in
  Donaca, Eurton has documents establish how it obtained consent via forms in the regular course
  of business. Plaintiff class should be decertified.



  {00140042;1}
                                                                 BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                           13
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 20
                                    of 25




                 3.     Eurton’s post-lawsuit evidence of consent
                 Eurton’s evidence of consent only increases once its post-lawsuit verification efforts are
  included. With respect to class members of Eurton, whereby Eurton received oral confirmation
  of consent, and therefore Eurton faxed them confirmation, this increases evidence of consent to
  call the Initial List to 76%, and 92% if the 252 bad numbers are excluded. (Watkins Decl. ¶ 21
  & Exh 15) (Buchanan Decl. ¶¶ 70-74 & Exhs. 9, 10).
                 4.     Plaintiff’s Class lacks predominance due to individualized issues as to
                        whether received a Fax from Eurton
                 In Sandusky, the Court held “To our knowledge, no circuit court has ever mandated
  certification of a TCPA class where fax logs did not exist, and we decline to be the first.” 863
  F.3d at 473. In doing so, the Sixth Circuit affirmed the district court ruling that the plaintiff’s
  class therefore lacked predominance and ascertainability. Id. The Court in Sandusky focused on
  the fact that (1) the fax logs no longer exist; (2) they are not likely to emerge; and (3) fax recipients
  are not realistically expected to remember receiving a one-page fax sent seven years ago. Id. All
  three factors are present in our case as well as the fax logs do not exist (Watkins Decl. ¶ 2 &
  Ex.14) (Buchanan Decl. ¶ 10-11.).
                 The Sixth Circuit in Sandusky also affirmed the district court’s rejection of an affidavit
  process for self-identification. Sandusky, 863 F.3d at 473. Similarly, in Wilson v. Badcock Home
  Furniture, 329 F.R.D. 454, 458 (M.D. Fla. 2018), the Court rejected use of affidavits in a TCPA
  class, given that the defendant could face up to $ 1500 per call. “This amount is relevant both as
  an incentive for individuals to improperly enter the class and, as discussed more fully below, a
  danger that impacts due process protections for Defendant”. Id. (citing Karhu v. Vital Pharm.,
  Inc., 621 F. App'x 945, 948-49 (11th Cir. 2015).
                 Plaintiff’s Class lacks predominance due to the individualized inquiries as to
  whether Class Members received a fax. Plaintiff’s Class should be decertified.




  {00140042;1}
                                                                 BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                           14
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 21
                                    of 25




                 B.     Commonality
                 Plaintiff’s class lacks commonality for the same reasons it lacks predominance—the
  individualized inquiries presented as to whether a class member consented to a fax. “[T]he crux
  of the commonality examination is not simply whether there are commonalities among the
  potential class members, but rather, whether a classwide proceeding will be efficacious in
  ‘generat[ing] common answers apt to drive the resolution of the litigation.’” A-W Land Co., LLC
  v. Anadarko E&P Co. LP, No. 09-CV-02293-MSK-MJW, 2012 WL 4463869 at *3 (D. Colo. Sept.
  27, 2012), on reconsideration in part sub nom. A-W Land Co., LLC v. Anadarko E & P Co. LP,
  No. 09-CV-02293-MSK-MJW, 2013 WL 3199986 (D. Colo. June 24, 2013) (quoting Wal–Mart
  Stores, Inc. v. Dukes, 131 S.Ct. 2541, 2551 (2011).
                 Plaintiff’s class presents only individualized inquiries as to consent. “Whether a fax was
  sent without express permission…is an individual question if members of the proposed class will
  need to present evidence that varies from member to member.” Gorss Motels, Inc. v. Brigadoon
  Fitness Inc., 331 F.R.D. 355, 360 (N.D. Ind. 2019) (denying certification).
                 As Plaintiff’s class lacks commonality, it should be decertified.
                 C.     Plaintiff’s Class Lacks Superiority Due to the Mini Trials Presented
                 Plaintiff’s class lacks superiority given the mini-trials presented on the issue of consent and
  receipt of a fax. Rule 23(b)(3) requires “that the questions of law or fact common to class members
  predominate over any questions affecting only individual members and that a class action is
  superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed. R
  Civ. P. 23(b)(3) “Predominance and superiority are closely related: the number of individualized
  issues affects the manageability of a class action.” Porcell v. Lincoln Wood Prod., Inc., 713 F.
  Supp. 2d 1305, 1325 (D.N.M. 2010).                “The specter of mini-trials is relevant to the superiority
  question as well as the predominance question.” Pueblo of Zuni v. United States, 243 F.R.D. 436,
  452 (D.N.M. 2007); Cox v. Allstate Ins. Co., No. CIV-07-1449-F, 2012 WL 12860745, at *8 &
  n.14 (W.D. Okla. Mar. 28, 2012) (same). See also Sandusky, 863 F.3d at 471 (noting but not
  deciding, that the lack of fax logs could be part of superiority analysis).

  {00140042;1}
                                                                   BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                             15
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 22
                                    of 25




                 This Court recognized the dangers of mini-trials presented by Plaintiff’s class. “The
  essence of Eurton’s response to the motion is that a class action would require the Court to engage
  in mini-trials for each class plaintiff to determine whether it consented to receive Eurton’s faxes.
  Viewed in a vacuum, this argument is appealing.” (Dkt 47 at 3) The vacuum has now been filled
  with evidence of consent. Given the 4,000 plus mini-trials presented by Plaintiff’s class, Plaintiff’s
  class lacks superiority. The Court should decertify the class.
                 D.     Plaintiff’s Class lacks ascertainability
                 Plaintiff’s overbroad Class is not ascertainable. Although not specifically mentioned in
  the rule, an essential prerequisite to an action under Rule 23 is that there must be a class.”
  Edwards v. Zenimax Media Inc., No. 12-CV-00411-WYD-KLM, 2012 WL 4378219 at *5 (D.
  Colo. Sept. 25, 2012). A class is sufficiently defined if it is “‘administratively feasible for the
  court to determine whether a particular individual is a member.’ ” Id. at *4. “ ‘Administrative
  feasibility means that identifying class members is a manageable process that does not require
  much, if any, individual factual inquiry.’ ” Carrera v. Bayer Corp., 727 F.3d 300, 307–08 (3rd
  Cir.2013) (quotation omitted). If the class “can be ascertained by reference to objective criteria”,
  then it is adequately defined. Edwards, 2012 WL 4378219, at *4.
                 Related to ascertainability are problems with overbreadth of the class. A class is
  overbroad, and should not be certified, if it includes “a great number of members who could not
  have been harmed by the defendant's allegedly unlawful conduct.” Friedman v. Dollar Thrifty
  Auto. Grp., Inc., 304 F.R.D. 601, 606 (D. Colo. 2015) (citing Messner v. Northshore Univ.
  HealthSystem, 669 F.3d 802, 824 (7th Cir. 2012)); Warnick v. Dish Network LLC, 301 F.R.D.
  551, 559 (D. Colo. 2014) (same).
                 The Court in Warnick held that an overbroad TCPA subclass lacked ascertainability
  because it included persons called with consent. Id. (citing Gannon v. Network Tel. Services, Inc.,
  No. 12–9777–RGK, 2013 WL 2450199, at *2–3 (C.D.Cal. June 5, 2013) (finding in a situation
  where the defendant provided evidence that some of the putative class members may have
  provided consent to text messages that the proposed TCPA class was “unascertainable and

  {00140042;1}
                                                                   BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                             16
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 23
                                    of 25




  unidentifiable” because the class definition would require individualized inquiry into whether the
  class members consented.)
                 Defendant’s proof of consent to fax class members demonstrates Plaintiff’s class is
  overbroad and therefore ascertainable. Moreover, the lack of fax logs also demonstrates lack of
  ascertainability. See Sandusky, supra. Plaintiff’s Class should be decertified.
                 E.     Numerosity
                 Eurton asserts that Plaintiff’s class lacks numerosity, as its current class definition is
  overbroad. Plaintiff has not identified any class member faxed without consent other than itself.
  See Jeffries v. Pension Trust Fund, 172 F.Supp.2d 389, 394 (S.D.N.Y. 2001) (noting that while the
  court may make “common sense assumptions to support a finding of numerosity,” it may not “do
  so on the basis of pure speculation without any factual support,” where plaintiff alleged that a large
  number of union’s members were unemployed but failed to proffer evidence of how many laid-off
  members suffered the alleged injury).
                 F.     Faxes to Efaxes should be excluded
                 In 2019, Amerifactors Financial Group, LLC (“Amerifactors”) “filed a petition for
  declaratory ruling asking the Commission to clarify that faxes sent to ‘online fax services’ are not
  faxes sent to ‘telephone facsimile machines.’ ” In re Amerifactors Fin. Group, LLC Pet. for
  Expedited Declaratory Ruling, CG Docket Nos. 02-278, 05-338, 34 F.C.C. Rcd. 11950, 11950 ¶ 2
  (CGAB 2019) [hereinafter “Amerifactors Ruling”].
                 On December 9, 2019, the FCC Consumer and Governmental Affairs Bureau (“CGAB”)
  granted the petition, concluding that “[t]o the extent an unsolicited facsimile advertisement is sent
  to a service that effectively receives faxes ‘sent as email over the Internet’ and is not itself
  ‘equipment which has the capacity ... to transcribe text or images (or both) from an electronic
  signal received over a regular telephone line onto paper,” such service is not “telephone facsimile
  machine” and does not trigger the statutory prohibition.” Id. at 11952 ¶ 8. The Amerifactors Ruling
  was grounds to modify a class definition to exclude such faxes in Advanced Rehab & Med., P.C.
  v. Amedisys Holding, LLC, No. 117CV01149JDBJAY, 2020 WL 4937790, at *2 (W.D. Tenn. Aug.

  {00140042;1}
                                                                BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                          17
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 24
                                    of 25




  24, 2020). However, to exclude such class members would require the same reliance on affidavits
  that is discouraged by Sandusky. Plaintiff’s Class should be decertified for this reason alone.


  VII.           CONCLUSION
                 For the reasons stated above, Eurton respectfully submits that Plaintiff’s Class be
  decertified.
   September 30, 2020                                      /s/ David J. Kaminski
                                                          David J. Kaminski
                                                          Stephen A. Watkins
                                                          Carlson & Messer LLP
                                                          5901 W. Century Blvd., #1200
                                                          Los Angeles, CA 90045
                                                          kaminskid@cmtlaw.com
                                                          (310) 242-2200




  {00140042;1}
                                                             BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                       18
Case No. 1:16-cv-02981-MSK-MDB Document 90-1 filed 09/30/20 USDC Colorado pg 25
                                    of 25




                                         CERTIFICATE OF SERVICE
                 I hereby certify that, on the 30th day of September 2020, a true and correct copy of the
  above and foregoing has been served by electronic notification by filing with the Clerk of Court
  using the CM/ECF system, which sent notification via e-mail to the following:


                 ppeluso@woodrowpeluso.com
                 tsmith@woodrowpeluso.com
                 woodrow@woodrowpeluso.com


                                                                       /s/ David J. Kaminski
                                                                    David J. Kaminski
                                                                    Stephen A. Watkins
                                                                    Carlson & Messer LLP
                                                                    5901 W. Century Blvd., #1200
                                                                    Los Angeles, CA 90045
                                                                    kaminskid@cmtlaw.com
                                                                    (310) 242-2200




  {00140042;1}
                                                               BRIEF IN SUPPORT OF MOTION TO DECERTIFY CLASS
                                                                                                         19
